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 AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Western District of New York

                  United States of America                           )
                                 v.                                  )
                                                                     )        Case No.
                  MICHAEL A. STEWART,                                )                   21-MJ-644
                                                                     )
                                                                     )
                           Defendant(s)                              )



                                                 CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
          On or about the date(s) of                  August 5, 2021        in the county of                              Monroe   in the


        Western         District of -----'--'N-=-
                                              ew     Y�o""'"r"""
                                                 "-'--'      k ___, the defendant(s) violated:


             Code Section                                                                        Offense Description
                                                            Manufacturing, Distributing, Dispensing or Possessing with Intent to
Title 21, United States Code,
                                                            Manufacture, Distribute or Dispense Controlled Substances
       Section 841(a)(1)



  Title 18, United States Code,                               Possessing a Firearm in Furtherance of a Drug Trafficking
  Section 924(c)(1)(A)                                      Crime




              This criminal complaint is based on these facts:

    See attached affidavit of DEA TFO Alex Kirkpatrick




          t Continued on the attached sheet.

                                                                                                 Complainant's signature

 Affidavit and Complaint submitted electronically by email
                                                                                    DEA TFO Alex Kirkpatrick              ::::% �.e-'
 in .pdfformat. Oath administered, and contents and signature,                                     Printed name and title
 attested to me as true and accurate telephonically pursuant to
 Fed. R. Crim.P. 4.1 and 4 (d) on:



Date:             08/05/2021
                                                                                                     Judge 's signature

City and state:                       Rochester, New York                        Hon Mark W. Pedersen, U.S. Magistrate Judge
                                                                                                   Printed name and title
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,IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                -v-                                                      AFFIDAVIT

MICHAEL A. STEWART                                                       21-MJ-644

                             Defendant.


State of New York )
County of Monroe ) ss
City of Rochester )


                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, ALEX KIRKPATRICK, being duly sworn, depose and state:

       1.       I have been a Task Force Officer with the Drug Enforcement Administration

(DEA) since May of 2020, and I am currently assigned to the DEA Rochester Resident Office.

Prior to becoming a DEA Task Force Officer, I became a Police Officer with the Webster

Police Department in 2013. During my employment with the Webster Police Department, I

completed the Basic Course for Police Officers for six months at the Monroe County Public

Safety Training Center, located in Rochester, NY and four months of field training. This

training included familiarization of the physical characteristics, packaging, and field testing

of illegal drugs and narcotics.    I served as a Police Officer with the Webster Police

Department, assigned to Patrol Division, from the completion of that training until December

of 2017. In December of 2017, I was assigned to the Criminal Investigation Section of the

Webster Police Department. I was then assigned to the Drug Enforcement Administration

(DEA) Task Force Rochester in May of 2020. During my career with the Webster Police


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Department I have attended numerous courses related criminal investigations including a two

week Basic Investigations School in 2018 in Rochester, NY and a one week Task Force

Officer School in 2021, in Quantico, VA. I have had the opportunity to conduct, coordinate,

and/or participate in a number of successful investigations involving burglaries, robberies,

weapons possession, narcotics possession, narcotics sales, arsons, assaults, sexual assaults,

larcenies, and homicides. I have interviewed numerous defendants, victims, witnesses, and

others who have been involved in or have knowledge of such crimes, including investigations

relating to weapons and/ or narcotics possession and/or sales. I am familiar with the methods

of use, effects, distribution, appearance, as well as the methods of manufacture of controlled

substances. I have been the affiant on multiple search warrants. During my time in the

Criminal Investigation Section, and the DEA Rochester Resident Office, I have participated

in long-term narcotics investigations that utilized the court-authorized interception of wire

communications that resulted in the arrest of drug distributors, and seizures of quantities of

controlled substances and firearms. I am familiar with the habits, methods, routines, practices

and procedures commonly employed by persons engaged in the armed trafficking of illegal

drugs. In addition, I have had the opportunity to work with other experienced narcotics

officers on the Local, State, and Federal levels that all possess varying levels of experience

and who have all investigated drug distribution networks and individual distributors. These

narcotics officers have further provided your affiant with a basis of knowledge and further

educated your affiant on the various characteristics and/or methods of distribution of these

trafficking organizations and/ or individual distributors.




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        2.      This affidavit is submitted in support of a criminal complaint against Michael

A. STEWART (hereinafter "STEWART") for violations of Title 21, United States Code,

Section 841(a)(l ) (Manufacturing, Distributing, Dispensing or Possessing with Intent to

Manufacture, Distribute or Dispense Schedule I Controlled Substances) and Title 18, United

States Code, Section 924(c)(l)(A) (Possessing a Firearm in furtherance of a Drug Trafficking

Crime). The assertions made herein are based solely upon my personal knowledge or upon

information I have received from this investigation. Further, I have had discussions with

officers involved in this investigation who have confirmed the accuracy of the information

contained within this affidavit. Since this affidavit is being submitted for a limited purpose, I

have not included each and every fact that I know concerning this investigation. Rather, I

have set forth only those facts that relate to the issue of whether probable cause exists to

believe that the defendant committed the above-mentioned offenses. In support thereof, I

respectfully state the following:



                       Execution of New York State Search Warrant



       3.       On August 5, 2021, at approximately 6:10 a.m., members of the DEA

Rochester Resident Office Task Force executed a New York State search warrant at the

residence located at 686 Dewey Avenue, Rochester, NY ("Target Location"). The subject

of the investigation was Michael A. STEWART, who resides at the location. The search

warrant was authorized by the Hon. Karen Bailey Turner, Monroe County Court, and signed

on July 28, 2021. The Target Location is a duplex, designated 684 and 686. The search

warrant was solely for the residence located at 686 Dewey Avenue.         Upon entry into the



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location, Task Force members encountered two individuals, including C.J.K., who was

located on the third floor attic. R.T. was located on the second floor, guest bedroom. Both

individuals were detained.



       4.     Upon inquiry, it was learned that the subject of the investigation, Michael A.

STEWART, was not home at the time, but was possibly at 3 Authurian Way, Chili, New

York. Members of the DEA Rochester Resident Office went to that address and located

STEWART who agreed to come out of the residence where he was detained. STEWART

was transported back to the DEA Rochester Resident Office for further investigation.



                             686 Dewey Avenue, Rochester, New York



       5.     Upon searching the Target Location, members of the DEA Rochester Resident

Office searched the kitchen and living room area and located a 12 gauge pump action shotgun,

Ithaca, Model number 37 Feather light bearing serial number 371480653 under a couch.

There was a box of 12 gauge ammunition with the shotgun. Immediately next to the couch

was a table with a black filing cabinet on top. Inside of the filing cabinet was a quantity of

marijuana pre-packaged for sale, concentrated cannabis cartridges pre-packaged for sale, and

approximately 230 grams of psychedelic mushrooms (psilocybin). There were also various

empty glassine and foil packages located next to said items.       Marijuana, cannabis and

psilocybin are Schedule I controlled substances.




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                                                   Criminal History

         11.      According to his eJustice Criminal History, on or about March 4th, 2014,

STEWART was convicted of Attempted Criminal Possession of a Controlled Substance 7th,

in violation of New York State Penal Law Section 220.03, a Class B Misdemeanor.



         12.     Based on the above information, your affiant submits there is probable cause to

believe that on or about, August 5, 2021, in the City of Rochester, County of Monroe,

Western Judicial District of New York, Michael A. STEWART violated Title 21, United

States Code, Section 84l (a)(l ) (Manufacturing, Distributing, Dispensing or Possessing with

Intent to Manufacture, Distribute or Dispense Schedule I Controlled Substances) and Title

18, United States Code, Section 924(c)(l )(A) (Possessing a Firearm in Furtherance of a Drug

Trafficking Crime).




                                                               ALEX KIRKPATRICK
                                                               Task Force Officer
                                                               Drug Enforcement Administration



Affidavit and Complaint submitted electronically by email
in .pdfformat . Oath administered, and contents and
signature,attested to me as true and accurate telephonically
pursuant to Fed. R. Crim.P. 4.1 and 4 (d) on August 5,
2021:



HONORABLE MARK W. PEDERSEN
United States Magistrate Judge




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